
By the Court.
This case presents a single point of prac-
tice under the jurisdiction act, St. 1840, c. 87. It was a complaint in the court of common pleas for flowing; plea in abatement, the non-joinder of other parties as defendants; demurrer thereto, joinder and judgment for respondents; from which the complainant appealed. The jurisdiction act, § 4, in allowing questions of law to be brought before this court, by exceptions or writ of error, expressly excepts those arising on pleas in abatement; and, as more directly applicable to the present case, § 5, allowing a party aggrieved by any judgment, founded on any matter of law apparent on the record, to appeal from the court of common pleas to this court, expressly excepts judgments on pleas in abatement. This case is within the exceptions in the statute; the appeal was improvidently taken and allowed, and the case must be remanded to the court of common pleas.
